           Case: 1:17-cv-05740 Document #: 1 Filed: 08/07/17 Page 1 of 11 PageID #:1
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                                     UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS


                                                                )
                                                                )          17CV5740
                                                                )          JUDGE WOOD
                                                                )          MAG. JUDGE SCHENKIER
  Plaintiff(s),                                                 )r
                                       )
  v.
   CrtY or C4tuqr,. DucE\Elr.
   SEALfiArnrs $ortu1ss'# lbAL, BuaKr-
                                       )
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                                       )
                                                                                                      FILED
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                                                                )
                                                                )                                             AUG-72t11             ,
  Defendant(s). b r s?ATc*e&s                                   )
                                                                                                      THOMAS G. BRUTON
                                                                                                   CLERK, U.S. DISTRICT COURT

                            COMPLAINT OF EMPLOYMENT DISCRIMINATION

   l. This is an action for employnent discrimination.

   2.   The plaintiff      ls {{r wrnr rr-V N e,uSotu                                                                            of the

   county   of                       0ooK                                  in the state of   :rcLt NotS
   3. The defendant is 0-rrV crr 0.*tr A(n) ?oLtce be}*ot tr/tErlT                                                             , whose

   street address is                  Sslo           5. Mrcbtrcr+o A\l€-
   tritvl Ctlt 04aO (county)                       CO 0     K         (statey    f, L                  rzs-(tlt[P€g
   (Defendant's telephone           number) (W)                  -    "1   4   { - g t O3
   4.   The plaintiff sought employment or was employed by the defendant at (street address)

             35lD               5 . Wltcfuaq.p Ave                                       aitv t      0t'/tu4ao
        (county)       Look             (state)       /L            (ZIP code)     bobss




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  Rev.06127/2O16
         Case: 1:17-cv-05740 Document #: 1 Filed: 08/07/17 Page 2 of 11 PageID #:1
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5.       The plaintiff lcheck one box)

         (a) tr           was denied employment by the defendant.

         (b) X            was hired and is still employed by the defendant.

         (c) tr           was employed but is no longer employed by the defendant.

6.       The defendant discriminated against the plaintiff on or about, or beginning on or about,
         (month)\E{e.t'naile-                @ufi         g       ,   (veai 2AlUl
7.1      (Choose paragraph 7.1             or   7.2, do   not complete both.)

         (a)     The defendant is.not a federal governmental agency, and the plaintiff
                 lcheck one box)&o, EhasTot fileda charge or charges against the defendant

                 asserting the acts of discrimination indicated in this complaint with any of the

                 following government agencies:

                 (i) {tfr"        United States Equal Employment Opportunity Commission, on or about

                          (m.nth)       fY\AY                 (duv) I \           1yearl    !017         .



                 (ii) fl      tfre Illinois Department of Human Rights, on or about


                          t*ortr,l     J0AV               '
                                                              O^v>-l      4        tvear)   !017
         (b)     If charges were filed with an agency indicated above,                      a copy of the charge is

                 attached.         ,..W\o,            but plaintiff will file a copy of the charge within 14 days.
                              X
         It   is the policy of both the Equal Employment Opportunity Commission and the Illinois

         Department of Human Rights to cross-file with the other agency all charges received. The

         plaintiff has no reason to believe that this policy was not followed in this                          case.




7.2      The defendant is a federal governmental agency, and

         (a)        the   plaintiff previously filed          a Complaint    of Employment Discrimination with the

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Rev.06/27/2016
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           Case: 1:17-cv-05740 Document #: 1 Filed: 08/07/17 Page 3 of 11 PageID #:1
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           defendant asserting the acts of discrimination indicated in this court complaint.

                         EI Yes (month)                                    (day)_            (year)

                         E   No, did not file Complaint of Employrnent Discrimination

           (b)           The plaintiff received a Final Agency Decision on (month)

                         (dav)                 (vear)

           (c)           Attached is a copy of the

                         (i) Complaint
                              -        of Employment Discrimination,

                             E Yes E            No, but a copy will be filed within 14 days.

                         (ii) Final Agency Decision

                             E Yes E             N0, but a copy will be filed within 14 days.


8.         (Complete paragraph 8 only if defendant is not afederal governmental agency.)

           (a)      tr       the United States Equal Employrnent Opportunity Commission has not

                             issued a Notice of Right to Sue.


           O)X           the United States Equal Employment Opportunity Commission has issued

                             a   Notice of Right to Sue, which was received by the plaintiff on

                             lmortr,;      fY\A{              (auvl        ll       tyearl     l"0ll        acopyofwhich

                             Notice is attached to this complaint.


9.         The defendant discriminated against the plaintiff because of the plaintiff s lcheck only

           those that applyl:

           (a) tr        Age (Age Discrimination Employment Act).

           (b) E         Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $ 198 1).



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            Case: 1:17-cv-05740 Document #: 1 Filed: 08/07/17 Page 4 of 11 PageID #:1
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            (.)            Disability (Americans with Disabilities Act or Rehabilitation Act)
                   H
            (d) E          National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).

            (e) E          Race (Title     VII of the Civil Rights Act of            1964 and 42 U.S.C. $1981).

            (0 tr           Religion (Title VII of the Civil Rights Act of 1964)

            (g)        E    Sex (Title    VII of the Civil Rights Act of 1964)


10.         If the defendant is a state, county, municipal (city, town or village) or other local

            governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

            national origin (42 U.S.C. S 1983).


I   l.      Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

            by 28 U.S.C.$1331, 28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(0(3); for 42

            U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the A.D.E.A.by 42 U.S.C.$l2ll7; for the

            Rehabilitation Act, 29 U.S.C. $ 791.


12.         The defendantlcheck only those that applyl
            (a)    tr
                   failed to hire the plaintiff.

            (b)    tr      terminated the plaintiff s employment.

            (c)    tr      failed to promote the plaintiff.

            (d)tr          failed to reasonably accommodate the plaintiffls religion.

            (.)X           failed to reasonably accommodate the plaintifls disabilities.

            (0X            failed to stop harassment;

            (g)    tr      retaliated against the plaintiff because the plaintiff did something to assert rights
                           protected by the laws identified in paragraphs 9 and l0 above;

            (h)    tr      other(specify): ENdaA€zpb       nn4UotarrS rv\rSUxr.rLucr TRe.Ufrn6r?(,D1u-f tfF
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13.       The facts supporting the plaintiff s claim of discrimination are as follows:




14.       IAGE DISCRIMINATION ONLY) Defendant knowingly, intentionally, and willfully
          discriminated against the plaintiff.

15.       The plaintiff demands that the case be tried by                               u   juw.E Yes EI No
16.       THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
          lcheck only those that applyl

          (a)                 tr   Direct the defendant to hire the plaintiff.

          (b)                 E    Direct the defendant to re-employ the plaintiff.

          (c)                 E    Direct the defendant to promote the plaintiff.

          (d)                 E    Direct the defendant to reasonably accommodate the plaintiff s religion.

          (e)                 tr   Direct the defendant to reasonably accommodate the plaintiff s disabilities.

          (0 fl                    ni...t   the defendant to (specify):)qY                   Rtrauv,u SquAn-l                  ri      A5       qzu-ss a).ru A

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         Case: 1:17-cv-05740 Document #: 1 Filed: 08/07/17 Page 6 of 11 PageID #:1
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                     n If available , grant the plaintiff appropriateinjunctive relief, lost wages,
                          liquidated/double damages, front pay, compensatory damages, punitive
                          damages, prejudgment interest, post-judgment interest, and costs, including
                          reasonable attorney fees and expert witness fees.

                     tr   Grant such other relief as the Court may find appropriate.




         (Plaintiffls signa

                  (ivune<uY Ne-tsox>
         (Plaintiffs name)

                  tos-4 S. Silnur-brru6 Ava
         (Plaintiff s street address)


         (City)        Cb[ruqso                    (State)       )-l-
                                                                -l            QrD bob{A

         (Plaintiffs telephone number)               dA-                 qgl-s85o




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         Case: 1:17-cv-05740 Document #: 1 Filed: 08/07/17 Page 7 of 11 PageID #:1




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Pnrvlre Surr RrcHrs

The issuance of this Notice of Right to Sue or Dismissal and Notice of Rights ends the EEOC process with
respect to your Charge. You may file a lawsuit against the Respondent within 90 days from the date you
receive this Notice. Therefore, you should keep a record of the date. Once the 90 day period is over, your
right to sue is lost. If you intend to consult an attorney, you should do so as soon as possible. Furthermore, in
order to avoid any question that you did not act in a timely manner, if you intend to sue on your own behalf;
your suit should be filed well in advance of the expiration of the 90 day period.

You may file your lawsuit in a court of competent jurisdiction. Filing this Notice is not sufftcient. A court
complaint must contain a short Statement of the facts of your case which shows that you are entitled to relief.
Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some cases can
be brought where relevant employment records are kept, where the employment would have been, or where
the Respondent has its main office.

You may contact the EEOC if you have any questions about your rights, including advice on which court can
                 if you need to inspect and copy information contained in the case file.
hear your case, or

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COPYING DOCUMENTS FROM YOUR              FILEW       BE DIRECTED TO IDHR.


A iawsuit against    a   private employer is generally filed in the U.S. District Court.

A lawsuit under Title VII of the Civil Rights Act of t964, as amended, against a State agency or a political
subdivision of the State is also generally filed in the U.S. District Court.

However, a lawsuit under the Age Discrimination in Employment of the American with Disabilities Act or,
probably, the Equal Pay Act against a State instrumentality (an agency directly funded and controlled by the
State) can only be filed in a State court.

A lawsuit under the Age Discrimination in Employment Act or the American with Disabilities Act or the
Equal Pay Act against a political subdivision of a State, such as municipalities and counties, may be filed in
the U.S. District Court.

For a list of the U.S. District Courts, please see the reverse side.

ArroRxrcv RrpnssrxrATloN

Ifyou cannot afford an attorney, or have been unable to obtain an attorney to represent you, the court having
jurisdiction in your case may assist you in obtaining a lawyer. If you plan to ask the court to help you obtain
a lawyer, you must make this request of the court in the form and manner it requires. Your request to the
court should be made well in advance of the 90 day period mentioned above. A request for representation
does not relieve you of the obligation to file a lawsuit within the 90-day period.

DnsrnucuoN oF FrLE

If you file suit, you or your attomey should forward a copy of your court complaint to this office. Your file
will then be preserved. Unless you have notified us that you have filed suit, your Charge file could be
destroyed as early as six months after the date of the Notice of Right to Sue.

In'vou   FrLE   surr, you oR youR ATToRNEv sHouLD NorrFy rHIs oFFIcE wHEN THE LAwsurr rs REsoLvED.
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                        IxTOnnnATION ON WHERE TO FILE SUIT
You have been notified of your right to sue in Federal District Court. Suit is ordinarily filed in
the District having jurisdiction of the county in which the employer, against whom you filed a
Charge of employment discrimination, is located. The telephone number listed for each
District is that of the Clerk of the Court.
I-T.S. DISTRICT COURT                             U.S. DISTRICT COURT
Northern District of Illinois                     Centra! District of Illinois
Eastern Division at Chicago                       Urbana Division
219 South Dearborn Street                         201 South Vine
Chicago, IL 60604                                 Urbana, IL 61801
3t2-435-5670                                      2r7-373-s830
                          Counties                                         Counties
Cook                            Kendall           Champaign                      Kankakee
DuPase                          Lake              Coles                          Macon
Grundv                          LaSalle           Douslas                        Moultrie
Kane                            will              Edgar                          Piatt
                                                  Ford                           Vermillion
                                                  lroouois
U.S. DISTRICT COURT                               Peoria Division
Northem District of Illinois
Western Division at Rockford                      100 N.E. Monroe Street
2l l South Court Street                           135 Federal Building
Federal Building                                  Peoria, lL 61602
Rockford, IL 6l   l0l                             309-671-71r7
8 l5-987-4355


                          Couniies                                        Counties
Boone                           McHenrv           Bureau                          McLean
Carroll                         Oele              Fulton                         ,Peoria
DeKalb                          Steohenson        Hancock                        Putnam
JoDaviess                       Whiteside         Knox                           Stark
Lee                             Winnebaso         Livinsston                     Tazewell
                                                  Marshall                       Woodford
                                                  McDonough
U.S. DISTRICT COURT                               Rock Island Division
Southern District of Illinois                     2ll    19- Street
750 Missouri Avenue                               Rock Island, lL6120l
East St. Louis, IL 62201                          309-793-5778
618482-0671
                            and
301 Main Street
Benton, lL 62812
6I   8-438-0671
                         Counties                                         Counties
Alexander                       Johnson           Henderson                      Rock Island
Bond                            Lawrence          Henrv                          Warren
Calhoun                         Madison           Mercer
Clark                           Marion            Sprins{ield Division
Clinton                         Monroe            600 East Monroe Street
Crnwford                        Perro
                                                  Springfield, lL6270l
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                                                  2t74924020
Edwards                         Pulaski
Effingham                       Randolph                                  Counties
Favette                         Richland          Adams                          Losan
Franklin                        St. Clair         Brown                          Macorrnin
Gallatin                        Saline            Cass                           Mason
Hamilton                        Union             Christian                      Menard
Hardin                          Wabash            DeWitt                         Montgomery
Jackson                         Washington        Green                          Morsan
Jasper                          Wavne             Pike                           Schuvler
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